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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION


HOPEWELL CULTURE & DESIGN LLC,

                   PLAINTIFF,
                                                         CASE NO. 2:12-CV-692
                   V.
                                                         JURY TRIAL DEMANDED
COBY ELECTRONICS CORP.,

                   DEFENDANT.


        .                 ORDER GRANTING MOTION TO DISMISS

            COMES NOW Hopewell Culture & Design, LLC’s Motion to Dismiss Pursuant to

Settlement Agreement. The Court, having reviewed the Motion and the file, finds that the

Motion should be, and hereby is, GRANTED.

            Accordingly, the Court hereby ORDERS that Hopewell’s claims against Coby

Electronics Corp. are dismissed with prejudice. Each party will bear its own costs and attorneys’

fees.
             SIGNED this 19th day of December, 2011.
            So ORDERED and SIGNED this 30th day of January, 2013.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE
